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 8                           UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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     JOSE ANTONIO FRANCO-GONZALEZ,                Case No.: CV 10-2211-DMG (DTBx)
11
     et al.,                                      ORDER RE: JOINT STIPULATION
12                                                TO RENOTICE HEARING ON
13               Plaintiffs-Petitioners,          PLAINTIFFS’ MOTION [1050] AND
                                                  MODIFY BRIEFING SCHEDULE
14                                                [1055]
                 vs.
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     CHAD WOLF, Acting Secretary,
16
     Department of Homeland Security, et al.,
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18               Defendants- Respondents.

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20         IT IS HEREBY ORDERED that the parties’ Joint Stipulation to re-notice the
21   hearing on Plaintiffs’ motion [Doc. #1042] and modify briefing schedule is GRANTED.
22   The hearing is continued to December 20, 2019 at 10:00 a.m., Defendants’ opposition is
23   due December 4, 2019, and Plaintiffs’ reply is due December 11, 2019.
24
25   DATED: November 25, 2019                    ________________________________
26                                               DOLLY M. GEE
                                                 UNITED STATES DISTRICT JUDGE
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